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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO



UNITED STATES OF AMERICA
     Plaintiff(s)

           v.                                CRIMINAL NO. 05-04 (JAG)

REYNALDO MADRIGAL-MADRIGAL [2]
     Defendant(s)



                                  ORDER

     The Court has reviewed Magistrate-Judge Camille Velez-Rivé’s

Report and Recommendation re: Rule 11 Proceedings (Plea of Guilty)

entered June 6, 2005 (Docket No. 66) with respect to defendant

Reynaldo Madrigal-Madrigal. Given that no objections were filed

within the prescribed time limits, the Court finds that defendant

has competently and voluntarily pled guilty. Accordingly, the Court

fully adopts the Report and Recommendation.




     IT IS SO ORDERED.

     In San Juan, Puerto Rico, this 21st day of June, 2005.


                                          S/Jay A. Garcia-Gregory
                                          JAY A. GARCIA-GREGORY
                                          United States District Judge
